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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                                                        CASE NO.: 19-13715-BKC-RBR
                                                                     PROCEEDING UNDER CHAPTER 13

IN RE:

ADRIAN MESA
XXX-XX-1805

_____________________________/
DEBTOR

 OBJECTION TO EXEMPTIONS AND CERTIFICATE OF SERVICE OF COURT GENERATED
                          NOTICE OF HEARING

   Robin R. Weiner, Chapter 13 Trustee in the above-referenced bankruptcy case ("Trustee"), hereby
objects to the Debtor's claimed exemptions in Schedule C and states:

1.   The Debtor's claim of exemption in REAL PROPERTY UNDER THE WILDCARD EXEMPTION
     violates the provisions of 11 U.S.C. Section 511, F.S. Section 222.20 and F.S. Section 222.30.

    WHEREFORE, the Trustee respectfully requests that the claimed exemption(s) be stricken and
disallowed.

    I HEREBY CERTIFY that I am admitted to the Bar of United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this Court as set
forth in Local Rule 2090-1(A) and that a true and correct copy of this Trustee's Objection to Exemptions
and Certificate of Service of Court Generated Notice of Hearing was served, via U.S. first class mail,
certified mail and/or CM/ECF, to the parties listed on the attached service list this 10th day of May, 2019.

                                                                  /s/ Robin R. Weiner
                                                              _____________________________________
                                                                  ROBIN R. WEINER, ESQUIRE
                                                                  STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 559007
                                                                  FORT LAUDERDALE, FL 33355-9007
                                                                  TELEPHONE: 954-382-2001
                                                                  FLORIDA BAR NO.: 861154
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                                                                  OBJECTION TO EXEMPTIONS
                                                                  CASE NO.: 19-13715-BKC-RBR

                                   SERVICE LIST

COPIES FURNISHED TO:

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